Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 1 of 18




                             EXHIBIT A
                              PART  2
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 2 of 18




  1         Q.    Okay. I i 11 refer you again to your report to
  2 paragraph six on page two. The second sentence of the

  3 paragraph six on pages two and three of the report says,

  4 "My opinion is that overcrowding is the primary cause of

  5 the constitutional violations, and nothing short of a

  6 reduction
      \       in the prison population will effectively
  7 address these issues." Do you see that?

  8         A.    Yes.
  9         Q.    Did you draft that sentence?

 10         A.    I know that I stated that but I didn i t write
 11 that sentence.
 12         Q.    Did you state it in that exact form?

 13         A.    I can i t say that I stated it exactly as it is
 14 written but it is my sentiment, yes.

 15         Q.    When you use the term "primary cause," what do

 16 you mean?
 17         A.    I mean that in order to address any of the

 18 other concerns about the incarceration of inmates we

  19 have to address the overcrowding because it is the
  20 single overriding issue that is preventing the
  21 Department of Corrections in their ability to provide
  22 appropriate healthcare, mental healthcare,
  23 rehabilitative programs, appropriate exercise,

  24 appropriate access to visitation. I mean, just about

  25 every aspect of incarceration is being impacted by the

                  DEPOSITION OF JEANNE S. WOODFORD                    59
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 3 of 18




   1 single overriding issue of overcrowding, the inability

   2 to hire sufficient staff. That i s what I mean by it.

   3 Q. What constitutional violations are you
   4 referring to in this sentence? If they i re different
   5 from what you've just described to me in the prior

   6 answer.
   7              MR. SPECTER:    Well --
   8              MR. MELLO:     I can ask it separately.

   9              MR. SPECTER:    Yeah.
  10        Q     (By Mr. Mello) What are the constitutional

  11 violations that you i re referring to in that
  12 sentence?
  13 A. 11m referring to heálthcare, mental
  14 healthcare, and conditions of confinement overall.
  15 Q. i may have asked this before differently but
  16 unfortunately I get to be a child and ask it again.
  17 What are the defining characteristics of constitutional
  18 medical care, in your opinion?
  19              MR. SPECTER: You asked before what are the

  20 components. Do you mean something different by that?
  21 MR. MELLO: No . So asked and answered is the
  22 objection.
  23         Q.   Do you have any ones to add other than the

  24   ones you i ve already described?
  25         A. No, I do not.
                  DEPOSITION OF JEANE S. WOODFORD                     60
Case 2:90-cv-00520-KJM-SCR                Document 3114-2   Filed 10/20/08   Page 4 of 18




   1              Q. Do you know what the status of the delivery of
   2   medical care is today at each one of the 32 prisons that

   3   are subject to the Plata stipulation for injunctive

   4   relief?
   5              A. No, I don't have current information.

   6              Q. Do you know what the status is of the current
   7   delivery of mental healthcare at    the 32 institutions --
   8   strike that.
   9                         Do you know the status of the delivery of

  10   mental healthcare at the adult institutions subject to

  11   the judgment in Coleman?

  12                         MR. SPECTER: Objection, status .is vague,
  13   judgment is vague.

  14              Q (By Mr. MelloL Do you know the quality of
  15   medical care that is being delivered to inmates

  16   housed in CDCR adult institutions?

  17                         MR. SPECTER: Same objection, quality is

  18   vague.
  19                         MR. MELLO: You can answer if you understand.
  20                          THE WITNESS: I know that it i S not in
  21   compliance with the Plata -- provisions of Plata if

  22   that's what you mean.

  23              Q (By Mr. Mello) Do you know what provisions
  24   of Plata each one of the 32 institutions are not in

  25   compliance with?
                                                                             .


                              DEPOSITION OF JEANE S. WOODFORD                     61
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 5 of 18




   1         A.The specific - - could you ask the question
   2 again? I'm not sure I understand it.
   3 Q. I i m not sure I remember it. Do you know which
   4 provisions of Plata that each of the 32 institutions are

   5 not complying with?

   6 A. I don i t know specific institutions. I know
   7 generally there's still difficulty in hiring and
   8 retaining healthcare staff. I know generally that

   9 there i s still difficulty in having appropriate space to

  10 provide healthcare or adequate space. So I have that
  11 general overview.
  12 Q. And that i s not based upon your visiting any of
  13 the 32 institutions in the last - - or since you left the
  14 department, correct?
  15       A.  That is correct.
  16         Q.   And that i s not based upon your review of any
  17   of the receiver i s reports, correct?
  18         A. That is correct.
  19         Q. Are you aware of whether there have been any
  20    improvements in the delivery of medical care since you

  21    left the department in the middle of 2006?

  22         A.   No, 11m not aware.

  23         Q.   Are you aware of any specific -- strike that.

  24         A.   Can I add one thing to my last answer?

  25         Q.   Sure.

                  DEPOSITION OF JEANE S. WOODFORD                     62
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 6 of 18




   1   and mental healthcare at CDCR institutions?

   2           A. Both of those questions can i t be independent
   3   of each other. Additional spacer in and of itself,

   4   would not without healthcare staff, for example.

   5           Q. If there were additional qualified clinical

   6   hiring and additional clinical space added, do you

   7   believe it would improve the delivery of medical and

   8   mental heal thcare at CDCR?

   9           A. It would improve it but there are still other

  10   issues that would need to be solved.

  11           Q. And those other issues besides population are
  12   what?
  13        .A. The hiring of additional correctional staff /
  14   the ability to find space available to build it. The

  15   retention of staff / both correctional staff and

  16   heal thcare and mental heal thcare staff. Having

  17   appropriate recreational space for inmates. Just about

  18   every - - improving information technology systems in the
  19   department so that information is where it needs to be.

  20   Just about every aspect of the prison would have to be

  21   improved to arrive at a point where you i re able to
  22   recruit, retain and have staff on site and the

  23   facilities available to address the needs of inmates

  24   within the prison facility.
  25           Q. Do you have any understanding whether there

                    DEPOSITION OF JEANE S. WOODFORD                   64
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 7 of 18




   1 tracking,
   2 Q. Did you believe at the time that you left the
   3 department that CDCR i S paper medical files - - do you
   4 know whether those files were complete?

   5 MR. SPECTER: Objection. In what sense do
   6 you--
   7 MR. MELLO: It's not like TV, you have to
   S state an objection. You can't just say objection and

   9 then cut to commércial. Let me reask the question, it

  10 wasn i t a very good question.
  11 Q. When you were warden at San Quentin the
  12 medical records were in paper form, correct?
  13        A.    Yes / they were.

  14 Q. Was there a computer tracking system for
  15 scheduling when you were the warden at San Quentin?

  16 A. I don't believe there was. I think that was a
  17 paper system.

  1S         Q.   Based upon your experience as a warden at

  19 San Que~tin, do you believe that the delivery of medical
  20 and mental heal thcare could be improved with an
  21 electronic tracking and scheduling system?

  22        A.    Yes, it would be an improvement.

  23 Q. Do you believe, based upon your experience as
  24 a warden at San Quentin and your eXPtrience as the

  25 director and undersecretary of CDCR, that medical care

                  DEPOSITION OF JEANE S. WOODFORD                     67
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 8 of 18




   1        Q (By Mr. Mello) Did you consider any other
  2    measures like hiring additional physicians or

   3   clinicians or increasing space or adding

  4    correctional officers prior to developing your

   5   opinion that nothing short of a reduction in the

   6   prison population will effectively address these

   7   issues?
   8        A. I actually did consider all of that. And,

   9   again, knowing the state prisons as well as I do and

  10   knowing how prisons operate and knowing the many issues,

  11   you know/you simply can i t add staff and make that
  12   happen. All of the very complicated issues caused me to

  13   arrive at my opinion.

  14         Q. But, again, you have no idea specifically
  15   whether the number of correctional officers has

  16   increased or decreased since you left the department,

  17   correct?
  18         A. I don i t know that specifically. I believe

  19   that they actually have more vacancies. I don't know if

  20   the number has increased.
  21         Q.   Is it true that the term -- what do you

  22 understand the term "vacancyll to mean as you've just
  23 used it in your last answer?

  24 A. Vacancy is the number of positions that do not
  25 have a staff member assigned to it.

                  DEPOSITION OF JEANE S. WOODFORD                     70
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 9 of 18




   1        Q.    Isn't it possible that the number of vacancies

   2   can go up at the same time that the number of filled

   3   positions can go up?

   4        A. Yes, that i s possible.
   5        Q. And that's possible because more positions can
   6   be established or authorized?

   7        A. That is correct.
   8        Q. SO there could actually be a greater number of
   9   correctional officers in the system today even if there

  10   are greater vacancies, correct?

  11        A.    That is correct.

  12        Q.    And that would be the same with respect to

  13   clinicians?
  14        A. Yes, that's correct.
  15         Q. On page four of your report, paragraph eleven,
  16   would you take a look at that paragraph. I i m going to
  17   ask you some questions about it.

  18        A.    Page four?
  19         Q.   Yes, paragraph eleven.
  20         A.   Yes.
  21 Q. In that paragraph it states that CDCR, quote,
  22 IIlacks sufficient number of personnel who have the

  23 necessary skill and training to manage such a large

  24 complex organization, II end quote. Do you see that?
  25         A.   Yes.
                                                                  .


                  DEPOSITION OF JEANNE S. WOODFORD                    71
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08     Page 10 of 18




   1 Q. What personnel are you talking about in this
   2 paragraph?
   3 A. I'm actually talking about personnel in all
   4 categories / custody/support staff / heal thcare / mental
   5 heal thcare .
   6 Q. But it's your testimony that you don't
   7 actually know the number of persons in the various

   8   positions in the prisons today, correct?

   9         A. That is my testimony.

  10         Q. I'm not trying to be argumentative,             I'm
  11 just please, I'm not trying to be argumentative, I'm

  12 actually just trying to make the record clear/okay.

  13 Do you know what the current physician to
  14 inmate ratio is at CDCR?

  15         A.   No, I do not.

  16         Q.   Do you have an understanding - - strike that.

  17              Have you ever heard what an appropriate

  18 physician to inmate ratio is in a prison setting?
  19         A.    Yes, I have. I don't remember the number but

  20

  21

  22

  23

  24         A.    No, I donI t.
  25         Q.    And do you remember what the physician to


                   DEPOSITION OF JEANNE S. WOODFORD                     72
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 11 of 18




   1    inmate ratio was when you were the director or

   2   undersecretary?
   3         A. No, I'm sorry, I don't.
   4         Q. Do you know whether that ratio was different

   5    from what your understanding was with respect to what

   6    the ratio should be?

   7         A.   Yes / I recall that it was different.

   8         Q.   Was it lesser or greater?

   9         A.   We had less physicians than was per - - the
  10 ratio was less physicians to inmates than was considered

  11 acceptable.
  12         q.    Do you know where you saw or learned what an

  13 acceptable ratio was?
  14 A. I don't know specifically. I know that it was
  15 a part of discussions over Plata and preparing budget

  16 change proposals to seek the appropriate staffing that I
  17 was provided that kind of information but I don't
   18 remember what it was specifically.
   19 Q. Do you know - - and I have a sneaking suspicion
   20, what your answer to these questions are, but I have to

   21 make the record clear. Do you know what the vacancy

   22 rate is at each of the 32 institutio~s for RNs?

   23 A. Not today, no, I do not.
   24 Q. Do you know what the vacancy rate is at any of .
   25 the 32 institutions with respect to physicians, nurse

                   DEPOSITION OF JEANE S. WOODFORD                     73
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 12 of 18




   1   the Department of Corrections and also managing a very

   2   large   reception center as the warden of San Quentin and

   3   understanding the difficulty of housing inmates

   4   appropriately.
   5           Q. Are you testifying that a prison system cannot

   6   provide appropriate medical care and mental healthcare

   7   if it exceeds 95 percent of design capacity?

   8           A. Can you say that one more time?

   9           Q. Sure. Are you testifying that a prison system
  10   cannot provide appropriate medical and mental healthcare

  11   if it exceeds 95 percent of design capacity?

  12           A. I am testifying that it gets to be more

  13   difficul t when you have no vacancies and you're trying
  14   to manage populations and putting the right inmate into

  15    the right kind of heal thcare or mental heal thcare

  16   program, you end up with delays and waiting lists for

  17    appropriate housing of individuals when you have no

  18   vacancy rates.

  19           Q. But, as you sit here today, you're not aware

  20    of any of those conditions since you left the

  21    department / correct?

  22           A. That's true, since I left the department.

  23           Q. And it's not your testimony that
  24    constitutionally adequate medical and mental healthcare

  25    cannot be provided if the population exceeds 95 percent


                    DEPOSITION OF JEANNE S. WOODFORD                  75
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 13 of 18




   1 of design capacity, is it?
   2 MR. SPECTER: Do you understand the question?
   3 THE WITNESS: I'm not sure that I do /
   4 actually.
   5 Q (By Mr. Mello) I believe you testified
   6 that it makes it. more difficult to exceed 95 percent

   7 of design capacity. Is it your testimony that a

   8 prison system that is operating at more than

   9 95 percent of design capacity will be unable to

  10 provide constitutionally adequate medical and mental

  11 healthcare to its inmates?

  12 A. Well, I suppose that it i s possible to provide
  13 that if you had unlimited resources and put in place

  14 whatever it took to make sure that happened.

  15 Q . Wha t do you unders tand the term II des ign

  16 capacityll to mean?
  17 A. Design capacity is a term that refers to what
  18 a prison was built to house. In the planning of it,
   19 what did you plan to house at that prison.
   20 Q. And so if the planning said single bunks, then
   21 that design capacity would be based upon one inmate per

   22 cell?
   23         A.   That's correct.
   24 Q. On page five again, paragraph 15 of your
   25 report it reads that IIIn California there is not enough

                   DEPOSITION OF JEANE S. WOODFORD                     76
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 14 of 18




   1 correctional staff to provide prisoners with timely

   2 access to care and still perform other essential

   3 functions." Do you see that?

   4         A.    Yes.
   5         Q.    Are you referring to medical care or mental

   6 healthcare or both in this sentence?

   7         A.    11m referring to both.

   8         Q.    Is it your testimony that this statement is

   9 true at all 32 prisons?

  10         A.    I don't have specific knowledge of all 32

  11 prisons but I generally believe that i s true of all 32
  12 prisons.
  13         Q.    Are you aware of whether or not that is true

  14 at any of the prisons / specific prisons?

  15         A.    Are you referring to now?

   16        Q.    Today.
   17        A.    Today. I know that it's true at many prisons

   18 today but I cannot specifically tell you that. I know

   19 that it 1 s true because of the number of correctional

   20 officer vacancies.
   21         Q.    Do you know what the number of correctional

   22 officer vacancies is today?
   23         A.    As of today, I do not.

   24         Q.    Do you know what it was in the last six
         j

   25 months?

                    DEPOSITION OF JEANE S. WOODFORD                    77
Case 2:90-cv-00520-KJM-SCR   Document 3114-2   Filed 10/20/08   Page 15 of 18




   1         A. Yes, I believe I do.
   2        Q. What i s that number, to the best of your
   3    understanding or recollection?
   4         A. I've heard numbers from 3,000 to 4,500.

   5         Q. Do you know the number of correctional officer

   6    vacancies / a specific number / that there are at any

   7    specific institution in the system today?

   8         A. No, I do not.
   9         Q. Do you know the number of - - the specific
  10    number of correctional officer vacancies at any of the

  11    institutions in the last six months?

  12         A. No, I do not.
  13            Q.   In the last year?

  14            A. No, I do not.
   15           Q. On page seven of your report, paragraph 19, it
   16   reads that IISome staff work back-to-back double shifts

   17   and would sleep in their cars in the prison parking lot

   18   instead of making a long commute home." . Do you see

   19   that?
   20           A. Yes.
   21           Q. Do you know how many correctional officers

   22   have done this in the last year?

   23           A.   No, I do not.

   24           Q.   What do you base this opinion on or statement

   25 on?

                     DEPOSITION OF JEAN S. WOODFORD                    78
Case 2:90-cv-00520-KJM-SCR                      Document 3114-2   Filed 10/20/08   Page 16 of 18




    1              A. My knowledge of the Department of Corrections

    2   and talking to different wardens while I was the

    3   director and in conversation with people since / you

    4   know / here and there.

    5              Q. Do you know whether this is occurring today?
    6              A. No, I do not.
    7              Q. In paragraph 19/ the same paragraph, you write
    8   or it reads "Officers who are tired and suffer from low

    9   morale are often less productive and do not fulfill all

  10    their responsibilities to provide for
                                                                     the basic needs of
  11    prisoners." Do you see that?

  12              A. Yes.
  13              Q. Do you know if that is the case today?
  14              A. No / I do not know that today.
  15              Q. But you believe that was the case prior to you
  16    leaving the department / correct?

  17              A. Yes.
  is              Q. And you base that upon your experience and in
  19    talking to wardens among other things, correct?

  20              A. Talking to staff of all levels / yes.
  21              Q. Do you know whether that circumstance,
  22    officers being tired and suffering from low morale and

  23    being less productive, whether that led to any deaths in

  24    2006?
  25              A.          I do not know that.


                              DEPOSITION OF JEANNE S. WOODFORD                           79
Case 2:90-cv-00520-KJM-SCR         Document 3114-2   Filed 10/20/08   Page 17 of 18



   1 old and decrepit to            provide humane housing.

   2 A. Yes.
   3 Q. What do you mean by IIhumane housing II ?

   4 A. What I mean by IIhumane housingll is the
   5 standard that the average person would find acceptable.

   6 In walking into some of these prisons / it was

   7 unbelievable what I saw.

   8 Q. Can constitutionally adequate medical or
   9 mental heal thcare be provided in crowded housing?

  10 Strike that.
  11 Can constitutionally adequate medical and
  12 mental healthcare be provided to inmates who live in
  13 crowded conditions?

  14 MR. SPECTER: Objection, crowded is vague.
  15 MR. MELLO: You can answer if you understand.
  16 THE WITNESS: Well, I would answer it this
  17 way. I think anything is possible if you have unlimited
  18 resources and are willing to do whatever it takes to
  19 make that happen.

  20 Q (By Mr. Mello) Can, in your opinion,
  21 constitutionally adequate medical and mental

  22 heal thcare be provided to inmates who live in
  23 non-humane housing conditions?

  24                       MR. SPECTER: Objection, the non-humane

  25 housing is vague.
                           DEPOSITION OF JEANE S. WOODFORD                  89
Case 2:90-cv-00520-KJM-SCR        Document 3114-2   Filed 10/20/08   Page 18 of 18




   1                         STATE OF CAIFORNIA           ss.
   2 1/ the undersigned, a Certified Shorthand
   3 Reporter      of the State      of California, hereby certify that

   4 the witness in the foregoing deposition was by me duly

   5 sworn to testify to the truth, the whole truth, and

   6 nothing but the truth in the within-entitled cause; the
   7 said deposition was taken at the time and place therein

   8 stated; that the testimony of said witness was reported

   9 by me, a Certified Shorthand Reporter and a

  10 disinterested person, and was thereafter transcribed
  11 under my direction into typewriting; that the foregoing
  12 is a full, complete and true record of said testimony;

  13 and that the witness was given an opportunity to read
  14 and, if necessary/correct said deposition and to

  15 subscribe the same.
  16 I further certify that I am not of counselor
  17 attorney for either or any of the parties in the
  lS foregoing deposition and caption named, nor in any way

  19 interested in the .outcome of the cause named in said

  20 action.
  21                  IN WITNESS WHEREOF / I have hereunto set my

  22        hand thiS~ day Of~ , 2007.
  23                                          (1.
   24

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